       DISTRICT COURT OF APPEAL OF THE STATE OF FLORIDA
                             FOURTH DISTRICT

                       ASHLEE KOEW WILKS,
                            Appellant,

                                   v.

                        STATE OF FLORIDA,
                             Appellee.

                          No. 4D2024-0125

                          [August 22, 2024]

  Appeal from the Circuit Court for the Nineteenth Judicial Circuit,
Martin County; William L. Roby, Judge; L.T. Case No. 43-2023-CF-
000802-A.

  Carey Haughwout, Public Defender, and Alan T. Lipson, Assistant
Public Defender, West Palm Beach, for appellant.

  No appearance for appellee.

PER CURIAM.

  Affirmed.

CONNER, FORST and KUNTZ, JJ., concur.

                         *          *          *

  Not final until disposition of timely filed motion for rehearing.
